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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

MARCIA DAY DONDIEGO, et al.,                        :
              Plaintiffs,                           :
                                                    :
                     v.                             :       Civil No. 5:22-cv-02111-JMG
                                                    :
LEHIGH COUNTY BOARD OF ELECTIONS,                   :
et al.,                                             :
                  Defendants.                       :
__________________________________________

                                            ORDER

        AND NOW, this 7th day of June, 2022, upon consideration of the Motion to Intervene

 filed by Nick Miller (ECF No. 25), it is hereby ORDERED as follows:

        1. The Motion (ECF No. 25) is GRANTED.

        2. Nick Miller is hereby granted intervenor status as a Plaintiff in this case.

        3. The Clerk is directed to file the Proposed Joinder in Plaintiffs’ Complaint (ECF

           No. 25-2).


                                                    BY THE COURT:



                                                    /s/ John M. Gallagher
                                                    JOHN M. GALLAGHER
                                                    United States District Court Judge
